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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WISCONSIN


CONVERGEN ENERGY WI, LLC,

                       Plaintiff,                             Case No. 3:20-cv-0543

       vs.                                                    Dane County Wisconsin
                                                              Cir. Ct. Case No. 20-cv-1199
L’ANSE WARDEN ELECTRIC COMPANY, LLC,

                       Defendant.


              PLAINTIFF’S REPLY IN SUPPORT OF RENEWED MOTION
                         FOR PRELIMINARY INJUCTION


                                        INTRODUCTION

       L’Anse Warden Electric Company, LLC’s (“LWEC,” a member of the Libra group)

response brief is couched in vicious rhetoric, distorts what is actually occurring in the Southern

District of New York almost beyond recognition, and is supported by a declaration of someone

who did not even work at Libra until after the Supply Agreement was consummated. LWEC’s

overly dramatic, fanciful tale is an exercise in subterfuge, meant to mislead the Court into ignoring

the clear language of the Supply Agreement, drawing premature conclusions about a supposed

“fraud” that did not occur, and subverting CE-Wisconsin’s right to due process.

       When one clears away LWEC’s smoke, mirrors and alternative facts, the simple truth of

the matter remains the same. CE-Wisconsin has been performing under the Supply Agreement by

supplying hundreds of thousands of dollars’ worth of fuel pellets to LWEC. LWEC also performed

under the Supply Agreement until April 1, 2020, but since then has refused to pay for pellets that

it receives and burns, resulting in a failure to perform. Moreover, LWEC has stated that it intends

to keep taking CE-Wisconsin’s pellets without paying for them (a fact which LWEC attempts to

evade in its responses to CE-Wisconsin’s statement of facts (see Doc. No. 23, ¶13)). The Supply
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Agreement contains an arbitration clause, requiring precisely this type of dispute to go to

arbitration and, notably, providing that the arbitrator has the exclusive authority to decide:

          any disagreement, controversy or claim that arises between Vendor and Customer
          regarding the interpretation, fulfillment, or implementation of any provision of this
          Agreement, or regarding the rights and obligations of the parties (including,
          without limitation, the validity of the agreement of the parties to arbitrate, the
          arbitrability of the issues submitted to arbitration hereunder, and any conflict
          of laws issued in connection with this Agreement).

(Hansen Aff., Doc. No. 7, Exh. A, p. 6, § 11 (emphasis added).) The Supply Agreement further

explicitly recognizes a party’s right to seek injunctive relief to require performance under the

contract, during the limited time before the arbitrator can review the issue. The Supply Agreement

further recognizes (in a clause drafted by Bert Diaz, Libra’s General Counsel) that a failure to

perform by either party is a prima facie showing of irreparable harm.

          LWEC contorts itself, the law, and the facts in order to get around the simple, logical, and

unambiguous language of the Supply Agreement. Where LWEC cannot evade that language, it

simply cries “fraud!” and “unconscionability!” (again, without any actual proof), in the hopes that,

if it yells loud enough, the Court will ignore the contract and the law, and be fooled into denying

the temporary relief sought by CE-Wisconsin. Such a result is clearly a miscarriage of justice, and

as such, CE-Wisconsin’s motion for temporary preliminary relief should be granted.

                                            ARGUMENT

  I.      CE-WISCONSIN HAS MET ALL REQUIREMENTS FOR A PRELIMINARY
          INJUNCTION.

       A. CE-Wisconsin Has Demonstrated that it has a Clear Likelihood of Success on the
          Merits.

             1. LWEC Fails to Refute CE-Wisconsin’s Showing that LWEC has Taken
                Hundreds of Thousands of Dollars of Pellets Without Paying for Them.

          CE-Wisconsin invoked the arbitration clause under the Supply Agreement, because LWEC

has failed to pay for over $300,000 worth of fuel pellets, and has stated that it will continue to
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order such pellets, with no intent to pay for them.    In its response, LWEC does not deny that it

has failed to pay for pellets, or that it intends to keep ordering them without paying; instead, LWEC

dodges those questions with evasive responses to CE-Wisconsin’s proposed findings of fact. (See

Doc. No. 23, ¶¶ 10, 12-13.) Despite those efforts, the record before the Court demonstrates quite

clearly that LWEC has failed to perform under the Supply Agreement, and intends to continue to

fail to perform under the Supply Agreement. As such, CE-Wisconsin has an overwhelming

likelihood of success on its contract claims in the arbitration. As noted in CE-Wisconsin’s opening

brief, even if the Supply Agreement is adjudged avoidable at some point in the future, several

quasi-contract theories of relief support its claim.

           2. LWEC’s Argument that the Supply Agreement was a Result of Fraud Should
              be Rejected, Because it Rests Entirely on Inadmissible Hearsay and Unproven
              Allegations.

       LWEC bends over backwards to avoid these simple truths, instead choosing to attack the

viability of the Supply Agreement in general, and the arbitration clause in particular, on the basis

of unproven allegations that the Supply Agreement is fraudulent, and that the arbitration clause is

unconscionable. In other words, instead of arguing that CE-Wisconsin’s claim is wrong, LWEC

relies on defenses properly heard in the arbitration, which is exactly the stated purpose of the

arbitration clause, and therefore only serves to emphasize CE-Wisconsin’s argument.

       Regardless, LWEC offers nothing in the way of admissible proof to support either its theory

of fraud or its assertion of unconscionability. Instead, LWEC relies upon unproven allegations in

the just-initiated SDNY case, and the wholly inadmissible declaration of Camilo Patrignani, who

supposedly made the declaration “on personal knowledge,” but who in reality was not even




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employed by Libra/LWEC at the time the Supply Agreement was signed.                                  (Supplemental

Declaration of Theodore Hansen, filed herewith (“Hansen Dec.”), ¶ 3.)1

         In reality, the Supply Agreement was signed at arm’s length by two sophisticated parties

who are assumed to understand and agree to the risks of the bargain that was struck. Children’s

Surgical Foundation, Inc. v. Natl. Data Corp., 121 F. Supp.2d 1221, 1225-26 (N.D. Ill. 2000).

Contrary to Mr. Patrignani’s (inadmissible) aversion, the Supply Agreement was not “created” by

any supposed bad actors (Doc. No. 22, ¶ 14); rather, it was drafted by Bert Diaz, Libra’s current

General Counsel. (Hansen Dec., ¶ 4.) Indeed, Mr. Diaz specifically drafted the “irreparable harm”

clause in the arbitration paragraph. (Id.)

         The Supply Agreement was signed on LWEC’s side by Fidel Andueza, who wore (and

continues to wear) numerous hats in the Libra organization, including as Libra’s Chief Investment

Officer. (Id., ¶ 5.)2 As of January 31, 2020, Mr. Andueza possessed the actual and apparent

authority to bind LWEC in the Supply Agreement and (along with Mr. Diaz) participated in

devising the terms of the Supply Agreement on behalf of LWEC. (Id., ¶ 6.) Importantly, Mr.

Andueza, as an authorized agent of LWEC and Libra, was fully aware of Steven Brooks’

involvement and interest in both the Supply Agreement, as well as the acquisition of CE-



1
  Because Mr. Patrignani could not have personal knowledge of the “facts” to which he avers, his entire declaration
should be disregarded as impermissible hearsay under FRE 801. Mr. Patrignani’s declaration also violates this court’s
standing order on procedure for injunction motions, which states: “Affidavits must be made on personal knowledge
setting forth facts that would be admissible in evidence, including any facts necessary to establish admissibility.”
(WDWI Procedure to be Followed on Motions for Injunctive Relief, n.3.)
          It is a valid question to wonder why LWEC provides a declaration from Patrignani, when Andueza and
Diaz—who are still employed by Libra, and who were directly involved in the drafting, negotiation and consummation
of the Supply Agreement—were presumably available. No doubt LWEC and Libra want to continue to shield those
individuals from perjuring themselves. This points up the kernel of truth in all of this that will eventually come to
light. Libra’s own executives negotiated the Supply Agreement (as well as the acquisition agreement) with full
knowledge of all of the facts, including Brook’s involvement. However, instead of cleaning their own house, Libra
has masterminded this entire miscarriage of justice in order to shift focus from aware from a major failure in corporate
governance to pin the blame on others. The cries of fraud may be the actual fraud.
2
 In addition to being Libra’s CIO, at least prior to January 31, 2020, Mr. Andueza was also the Manager/President
of CE-Wisconsin, Convergen Energy LLC, LWEC, and Convergen Energy, Inc.
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Wisconsin. (Id., ¶ 7.) LWEC’s and Libra’s assertions that Libra was unaware of Mr. Brooks’ role

in the transactions is the lynchpin of their aversions of fraud, both as to the Supply Agreement as

well as to the acquisition that is the primary focus of the SDNY action. Without that fact, this

entire case is exposed for the sham that it is.

         Mr. Andueza, as the LWEC signatory on the Supply Agreement, is presumably the “un-

named co-conspirator” referenced in Mr. Gold’s declaration, and repeated in LWEC’s brief. (Doc.

No. 21, ¶ 11; Doc. No. 20, p.1.) As a preliminary matter, Mr. Gold’s averment should be

disregarded—it is an unsupported argumentative statement of counsel, at best hearsay, and holds

absolutely no evidentiary value. Further, for support Mr. Gold refers only to the complaint in the

SDNY action, which in itself is not evidence. (Id.) Moreover, contrary to Mr. Gold’s statement

that the involvement of an “unnamed co-conspirator” is “fully explained” in the NYSD action,

review of that complaint reveals that there is no mention of such a shadowy figure in New York.

(See generally, Fischer Dec., Doc. No. 25, Exh. B.)3

         Stripped of the house of cards on which it stands, LWEC’s “fraud” argument is therefore

revealed for what it is: a collection of theories and unproven allegations—it certainly does not

overcome the clear language of the Supply Agreement providing for interim injunctive relief, or

the arbitration clause itself. LWEC’s assertion that the arbitration clause in the contract is

somehow “unconscionable” fails for the same reason—it is based on the same unproven assertion

that the Supply Agreement is a result of fraud. But a party cannot circumvent an arbitration clause


3
  As detailed in CE Wisconsin’s brief in response to LWEC’s motion to transfer, this is not the only time where LWEC
takes substantial liberties with its description of exactly what is happening in the SDNY. As in its brief in support of
its motion to transfer, LWEC persists in the fiction that the TRO in New York has anything to do with the supply
agreement. Here, LWEC literally puts words into Judge Liman’s mouth: “The New York court understood that there
really is no justifiable explanation for the double dealing that resulted in the recent sale of CEW for millions less than
it is worth and revised supply terms that shifted millions in profit to CEW under the contested supply agreement.”
(Doc. No. 20, p.1.) LWEC provides no citation for this statement because it cannot—any proceedings that have
occurred in the SDNY, including the TRO, have been limited in scope to the preservation and migration of supposed
trade secret and confidential information. The suggestion that Judge Liman has opined at all as to the merits of
LWEC’s fraud allegations is patently false.
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merely by claiming fraud or that the agreement is unconscionable. See Sweet Dreams Unlimited,

Inc. v. Dial-A-Mattress Int’l, Ltd., 1 F.3d 639, 643 (7th Cir. 1993) (“A party may not avoid a

contractual commitment to arbitrate disputes merely by ‘casting its complaint in tort.’” (citation

omitted)); see also Nitro-Lift Techs., L.L.C. v. Howard, 568 U.S. 17, 20-21 (2012) (challenges to

the overall validity of a contract containing the arbitration clause must be decided by the arbitrator,

not by a court); Prima Paint Corp. v. Flood & Conklin Mfg. Co., 388 U.S. 395, 403-04 (1967)

(same); Harter v. Iowa Grain Co., 220 F.3d 544, 550 (7th Cir. 2000) (courts will not allow a party

to unravel a contractual arbitration clause by arguing that the clause was part of a contract that is

voidable).

       None of the cases cited by LWEC stand for the proposition that mere unproven allegations

of fraud or unconscionability will subvert an arbitration clause. See Loop Products v. Capital

Connections, LLC, 797 F. Supp. 2d 338, 347-48 (S.D.N.Y. 2011) (New York law) (holding

arbitration clause unenforceable on the basis of uncontroverted allegations of fraud in an

unanswered complaint); 332 E. 66th St., Inc. v. Walker, 59 Misc. 3d 1216(A), 106 N.Y.S.3d 727

(N.Y. Sup. Ct. 2018) (New York law) (refusing to invalidate an arbitration provision without a

developed record); Comprehensive Merch. Catalogs, Inc. v. Madison Sales Corp., 521 F.2d 1210,

1213 (7th Cir, 1975) (New York law) (proposition cited by LWEC taken from a quote from a New

York decision; 7th Cir. did not opine as to merits); Anderson St. Realty Corp. v. New Rochelle

Revitalization, LLC, 78 A.D.3d 972, 974 (2010) (New York law) (overruling lower court and

holding that case should have gone to arbitration for lack of showing of fraud relating to arbitration

clause); Wisconsin Auto Title Loans, Inc. v. Jones, 2005 WI App. 86 ¶10, 280 Wis. 2d 823, 696

N.W.2d 214 (recognizing that an evidentiary hearing is ordinarily required to determine

unconscionability, but determining that the party waived its right to a hearing); Brennan v. Bally

Total Fitness, 198 F. Supp.2d 377, 382 (S.D.N.Y. 2002) (New York law) (finding arbitration
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provision unconscionable after considering extensive factual record); Coady v. Cross Country

Bank, 2007 WI App 26, ¶26, 299 Wis. 2d 420, 439, 729 N.W.2d 732 (holding that arbitration

clause in credit card agreement was unconscionable after extensive review of facts, and in light of

uneven bargaining power between the parties).4

             3. Potential Future Claims of “Offset” Have No Bearing on This Court’s
                Decision.

         LWEC next contends that, because it may one day win a damages award in the SDNY that

might offset damages caused to CE-Wisconsin due to LWEC’s failure to perform the Supply

Agreement, it should not have to pay for the hundreds of thousands of dollars of pellets it has

already consumed, and the millions of dollars more pellets it will consume over the course of this

dispute. Apparently, LWEC expects that CE-Wisconsin should just sit idly by and supply

hundreds of thousands of dollars-worth of pellets, without getting paid anything for them. This

argument is patently absurd, and none of the cases cited by LWEC support this sort of premature

application of potential offset.


             4. LWEC Ignores that the Arbitration Clause Reserves Questions of Validity and
                Arbitrability to the Arbitrator, not the Court.

         Boiled down to its essence, LWEC’s argument against the temporary preliminary

injunction requested by CE-Wisconsin is that the entirety of the Supply Agreement—including the



4
  Apparently believing that New York law is more favorable to its cause, particularly with regard to the severability
and continued viability of an arbitration clause when other terms are invalidated, LWEC argues that New York law
should be applied by the Court in this matter. However, LWEC’s insistence on New York law completely ignores the
choice of law provision in the Supply Agreement, requiring the application of Wisconsin law. (Hansen Aff., Doc. No.
7, Exh. A p. 6, § 7). Moreover, LWEC ignores the fact that issues as to choice of law are reserved to the arbitrator.
(Id., p. 6, § 11) LWEC’s choice of law cases are inapposite, because none were decided in light of a clear contractual
choice of law provision applicable to the claim at bar. See Licci ex rel. Licci v. Lebanese Canadian Bank, SAL, 672
F.3d 155, 158 (2d. Cir. 2012) (no contractual choice of law provision); Love v. Blue Cross & Blue Shield of Georgia,
Inc., 439 F. Supp.2d 891, 892 (E.D. Wis. 2006) (acknowledge choice of law provision in insurance contract, but did
not consider it in determining choice of law in insurance bad faith tort claim); State Farm Mut. Auto. Ins. Co. v.
Gillette, 2002 WI 31, ¶49, 251 Wis. 2d 561, 588, 641 N.W.2d 662 (no choice of law provision cited by the court);
Sutherland v. Kennington Truck Serv. Ltd., 454 Mich 274, 286, 562 N.W.2d 466 (1997) (no choice of law provision).
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arbitration clause specifically allowing for the injunctive relief requested in this case—must be

thrown out due to the supposed fraudulent scheme. Even if LWEC could provide some colorable

proof of fraud or unconscionability to this Court (which it has not), it fails to even acknowledge—

much less discuss—the fact that the arbitration clause in the Supply Agreement reserves all

questions of arbitrability and conflicts of law to the arbitrator itself:

        All Disputes shall be exclusively, finally and conclusively settled by binding
        arbitration under the Rules of Arbitration of the American Arbitration Association
        in accordance with its CAR(AA) (R) (specifically modified by this Agreement).
        The parties shall continue to perform their respective obligations under this
        Agreement pending conclusion of the arbitration. As used herein, Dispute
        means any disagreement, controversy or claim that arises between Vendor and
        Customer regarding the interpretation, fulfillment, or implementation of any
        provision of this Agreement, or regarding the rights and obligations of the parties
        (including, without limitation, the validity of the agreement of the parties to
        arbitrate, the arbitrability of the issues submitted to arbitration hereunder,
        and any conflict of laws issues in connection with this Agreement).

(Hansen Aff., Doc. No. 7, Exh. A, p. 6, § 11 (emphasis added).)

        It is axiomatic that arbitration clauses are a matter of contract, and that parties agreeing to

an arbitration clause should be held to the terms of the agreement: “Under the [Federal Arbitration]

Act, arbitration is a matter of contract, and courts must enforce arbitration contracts according to

their terms.” Henry Schein, Inc. v. Archer & White Sales, Inc., 139 S. Ct. 524, 529, 202 L. Ed. 2d

480 (2019).

        Applying the Act, we have held that parties may agree to have an arbitrator decide
        not only the merits of a particular dispute but also gateway questions of
        arbitrability, such as whether the parties have agreed to arbitrate or whether their
        agreement covers a particular controversy. We have explained that an agreement to
        arbitrate a gateway issue is simply an additional, antecedent agreement the party
        seeking arbitration asks the federal court to enforce, and the FAA operates on this
        additional arbitration agreement just as it does on any other. … When the parties'
        contract delegates the arbitrability question to an arbitrator, a court may not
        override the contract. In those circumstances, a court possesses no power to
        decide the arbitrability issue.”



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Id. (emphasis added) (internal quotations omitted); see also Moses H. Cone Mem’l Hosp. v.

Mercury Constr. Corp., 460 U.S. 1, 24-24 (1983) (“any doubts concerning the scope of arbitrable

issues should be resolved in favor of arbitration”); Dean Witter Reynolds, Inc. v. Byrd, 470 U.S.

213, 221 (1985) (courts must “rigorously enforce agreements to arbitrate”); see also id. at 218 (the

Federal Arbitration Act “leaves no place for the exercise of discretion by a district court, but

instead mandates that the district courts shall direct the parties to proceed to arbitration on issues

as to which an arbitration agreement has been signed.”); Nat’l R.R. Passenger Corp. v. Chesapeake

& Ohio Ry. Co., 551 F.2d 136, 140 (7th Cir. 1997) (a dispute must be sent to arbitration “unless it

may be said with positive assurance that the arbitration clause is not susceptible of an interpretation

that covers the asserted dispute.” (quoting United Steelworkers of Am. V. Warrior & Gulf

Navigation Co., 363 U.S. 574, 582-83 (1960)).

       Under this precedent and the language of the Supply Agreement, neither this Court nor the

SDNY will decide whether the Supply Agreement or its arbitration clause are unenforceable due

to fraud. The parties expressly delegated that question to arbitration, so any discussion of fraud is

a question for the arbitration. The sole issue properly before the Court on the CE-Wisconsin’s

preliminary injunction motion is whether this Court should (as authorized by the parties in the

Supply Agreement in recognition of the fact that arbitrators cannot issue injunctions) order the

interim relief required by the Supply Agreement until the arbitrator can rule.

   B. LWEC’s Failure to Perform under the Agreement Presents an Unacceptable Risk of
      Irreparable Harm.

       LWEC asserts that the only harm that CE-Wisconsin seeks to avoid with its injunction

motion is monetary—i.e., non-payment of invoices for pellets that LWEC has taken and burned

without paying. LWEC’s argument is an oversimplification that fails to accurately capture the

stakes. As noted in CE-Wisconsin’s complaint and preliminary brief, the Supply Agreement is a

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“take or pay” contract for critical supplies for LWEC. CE-Wisconsin pellets are the only ones

approved by Michigan regulators, and as such, LWEC must have them to continue operation. This

is why BMO insisted that language be inserted into the agreement giving BMO a collateral interest,

and giving BMO the right to cure defaults. Further, the continued performance of the Supply

Agreement is a condition of BMO’s continued agreement to finance both CE-Wisconsin and

LWEC.

       LWEC’s brazenly intentional failure to pay CE-Wisconsin, along with its stated intent to

continue to take CE-Wisconsin’s pellets without paying, endangers both companies. The failure

to pay, if not corrected, will begin tipping dominoes, risking BMO’s withdrawal of the financial

support to both parties that is conditioned upon the continuation of the Supply Agreement. The

withdrawal of that support would be a disastrous and potentially existential threat to CE-Wisconsin

(and likely LWEC as well). (Hansen Dec., ¶ 8.)

       CE-Wisconsin asserts three additional bases in support or a finding of irreparable harm.

First, the Supply Agreement is a material part of the credit agreements both parties have with BMO

Harris Bank N.A. (“BMO”):

               The parties hereby acknowledge that each party has entered into a
               Collateral Assignment, dated January 31, 2020, with BMO Harris
               Bank N.A. (the “Bank”), pursuant to which each party has (A)
               collaterally assigned to the Bank all of its right, title and interest of,
               in and to this Agreement and any extensions or renewals of this
               Agreement, and (B) granted to Bank a security interest in and to all
               rights and remedies of such party arising under this Agreement
               (each, a “Collateral Assignment”, and collectively, the “Collateral
               Assignments”). Each party hereby consents to the Collateral
               Assignment entered into by the other party and hereby
               acknowledges and agrees to the terms thereof.

(Hansen Aff., Doc. No. 7, Exh. A, p.1.) LWEC’s failure to honor the terms of the Supply

Agreement jeopardizes CE-Wisconsin’s relationship with BMO, endangers the collateral CE-



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Wisconsin has pledged in its credit agreement with BMO, and threatens CE-Wisconsin’s ability

to access credit that serves as the lifeblood of CE-Wisconsin’s ability to continue its operations.

        Second, the Supply Agreement accounts for around 50 percent of CE-Wisconsin’s overall

sales. (Hansen Dec. ¶ 9.) LCEW’s persistent failure to pay anything at all for the pellets CE-

Wisconsin is required to provide to LCEW under the Supply Agreement (and LCEW is required

to accept) has seriously compromised CE-Wisconsin’s ability to carry out its core business

functions. (Id.) If this continues, CE-Wisconsin will be forced to scale back operations, laying off

essential Wisconsin employees whose specialized training and experience in this niche industry

cannot be easily replaced. (Id. ¶ 10.) Without access to credit and faced with an irreparable loss of

talent, CE-Wisconsin will not exist in its current form (if at all) after lengthy arbitration. (Id.)

        Third, CE-Wisconsin operates as part of a complex supply chain that includes key

relationships with essential third-party suppliers, transportation partners, and storage facilities.

(Id., ¶ 11.) Without LCEW’s required payments under the Supply Agreement, CE-Wisconsin

cannot pay its business partners, which will irreparably damage these key relationships. (Id.) These

third parties will not wait quietly until LCEW is ordered to honor its commitments. Damages at

the end of arbitration will not make CE-Wisconsin whole.

        In summary, the Supply Agreement, written by Libra’s General Counsel, mandates that the

parties “continue to perform their respective obligations under this Agreement pending conclusion

of the arbitration,” and later confirms that, given the nature of the agreement, failure by either party

to perform would result in irreparable damage to the other party. (Hansen Aff., Doc. No. 7, Exh.

A, pp. 6-7, § 11.) That language only makes explicit the implicit threat to the existence of the

parties, should the other not perform because a dispute is pending. Indeed, as stated in one of

LWEC’s own cases, a contractual statement of irreparable harm is “not without significance,”



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when coupled with an additional demonstration of irreparable harm. Int'l Creative Mgmt., Inc. v.

Abate, No. 07 CIV. 1979 PKL, 2007 WL 950092, at *6 (S.D.N.Y. Mar. 28, 2007).5

    C. The Balance of Harms Weighs in CE-Wisconsin’s Favor.

         LWEC’s response ignores an important aspect of Seventh Circuit jurisprudence relating to

whether a preliminary injunction should be granted. Upon a movant’s showing of irreparable harm

and likelihood of success, courts must then balance the likelihood of irreparable harm to either

party, against the irreparable harm caused to the non-moving party, should the court grant the

requested relief. Girl Scouts of Manitou Council, Inc. v. Girl Scouts of U.S. of America, Inc., 549

F.3d 1079, 1086 (7th Cir. 2008). “In so doing, the court employs a sliding scale approach: ‘[t]he

more likely the plaintiff is to win, the less heavily need the balance of harms weigh in his favor;

the less likely he is to win, the more need it weigh in his favor.’” Id., quoting Roland Machinery

Co. v. Dresser Indus., 749 F.2d 380, 387 (7th Cir. 1984).6

         Here, CE-Wisconsin has demonstrated both its likelihood of success, and that LWEC’s

behavior is likely to harm both parties, by endangering their relationships with BMO. LWEC, in

contrast, does not even attempt to explain how an order requiring it to keep performing under the

Supply Agreement would harm it. Indeed, it is difficult to imagine how requiring a party to pay

for goods it has consumed could be considered harmful. There is no allegation that LCEW’s cash




5
  CE-Wisconsin’s showing of harm beyond the non-payment of invoices therefore factually distinguishes this case
from others cited by the defendant. See Int'l Ass'n of Machinists Dist. 10 v. Wisconsin, 194 F. Supp. 3d 856, 865
(W.D. Wis. 2016) (Denying injunction motion for failure to show irreparable harm beyond contract term); Epic Sys.
Corp. v. Tata Consultancy Servs. Ltd., No. 14-CV-748-WMC, 2016 WL 6477011, at *1 (W.D. Wis. Nov. 2, 2016)
(same); Baker's Aid, a Div. of M. Raubvogel Co. v. Hussmann Foodservice Co., 830 F.2d 13, 16 (2d Cir. 1987) (same).
6
  Notably, LWEC cites the Second Circuit case of Faiveley Transp. Malmo AB v. Wabtec Corp., 559 F.3d 110, 118
(2d Cir. 2009), presumably for the proposition that the “irreparable harm” factor is the “most important prerequisite”
for a Court to address in a preliminary injunction analysis. LWEC fails to note that Faiveley’s formulation of
preliminary injunction standards has been abrogated. See Salinger v. Colting, 607 F.3d 68, 74–75 (2d Cir.2010)
(announcing that the standard for injunctive relief provided in Faively had been abrogated by eBay, Inc. v.
MercExchange, 547 U.S. 388, 126 S.Ct. 1837, 164 L.Ed.2d 641 (2006)).
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flow has been affected. Certainly, the consumers of electricity are receiving their power and

remitting payment.

 II.   LWEC’S OTHER ARGUMENTS ARE UNAVAILING.

       Likely recognizing the weakness of its evidentiary showing, LWEC’s posits a number of

other ancillary arguments, none of which apply to the Court’s decision in this case, and all of which

are meritless.

   A. Forum Shopping.

       LWEC accuses CE-Wisconsin of forum-shopping and filing anticipatory actions, in order

to gain a more favorable jurisdiction. As a preliminary matter, this argument has nothing to do

with the issue currently before the Court of whether to grant the limited injunctive relief requested.

       Regardless, LWEC’s argument is belied by the fact that LWEC is, itself, guilty of forum

shopping by filing an action in the SDNY. Both the Supply Agreement that is the subject of CE-

Wisconsin’s arbitration demand, and the acquisition agreement that is central to the SDNY action,

are subject to binding arbitration clauses. A third agreement that has been raised in the SDNY

action requires suits to be filed in courts in Madison, Wisconsin. Those agreements clearly spell

out the forum in which disputes are to be decided, none of which requires litigation in the Southern

District of New York. Despite this, LWEC and Libra filed suit in the SDNY. If anyone is guilty

of forum shopping, it is LWEC and Libra. LWEC’s cases, none of which were decided in light of

an arbitration clause, are therefore inapposite. OMC LLC v. S&E Gourmet Cuts, Inc., No. 16-CV-

833-WMC, 2017 WL 3484964, (W.D. Wis. Aug. 14, 2017) (no arbitration clause); Skiva Int'l,

Inc. v. Minx Int'l Inc., No. 15-CV-4580 KBF, 2015 WL 5853854, (S.D.N.Y. Oct. 7, 2015) (Same).

   B. Claim-Splitting.




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       LWEC also takes CE-Wisconsin to task for claim-splitting, but this argument similarly

lacks merit. Again, this argument has nothing to do with the issue currently before the Court of

whether to grant the limited injunctive relief requested.

       Regardless, far from claim-splitting, CE-Wisconsin is merely attempting to have each issue

heard in the forum designated in the respective agreement. This case seeking limited injunctive

relief was filed pursuant to the terms of the Supply Agreement, with the expectation that the full

dispute will be heard by the AAA, as specified in the parties’ contract. Similarly, the Eastern

District of Wisconsin complaint has been amended to seek a declaration that disputes under the

acquisition agreement—currently the subject of the SDNY case—must go to arbitration. While

the issue of whether the SDNY should hear disputes arising under contracts that are subject to

arbitration clauses has not been joined, let alone decided, CE-Wisconsin and the other defendants

in the SDNY case will be raising those issues in their response to the claims, currently due July

17. The cases cited by LWEC are distinguishable, because none of them dealt with matters that

were clearly subject to arbitration clauses, as is the case here. See Roumann Consulting Inc. v.

Symbiont Constr., Inc., No. 18-C-1551, 2019 WL 3501527 (E.D. Wis. Aug. 1, 2019) (no

arbitration clause); Scholz v. United States, No. 19-CV-1074, 2020 WL 3051565 (E.D. Wis. June

8, 2020) (Same).

                                          CONCLUSION

       LWEC’s attempts at obfuscation aside, common sense and the interests of justice clearly

dictate that the requested preliminary injunctive relief should be granted until such time as either

the question of AAA vs. SDNY jurisdiction is decided. Indeed, that is what is explicitly recognized

in the language of the Supply Agreement itself. For these reasons, CE-Wisconsin respectfully asks

the Court to grant its request for a preliminary injunction.



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